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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
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                 7       UNITED STATES OF AMERICA,                             Case No. 2:17-CR-21 JCM (GWF)
                 8                                             Plaintiff(s),                      ORDER
                 9              v.
               10        SUSAN SIEGEL, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is the government’s motion to enforce the forfeiture language of
               14       defendant Susan Siegel’s plea agreement. (ECF No. 261).
               15              On February 16, 2018, defendant filed a motion to withdraw her plea agreement in this
               16       case. (ECF No. 245). On April 4, 2018, defendant filed a withdrawal of her motion, noting that
               17       the parties have “resolved the issue without the necessity of additional litigation.” (ECF No. 264).
               18       Therefore, the government’s motion to enforce the forfeiture language of defendant’s plea
               19       agreement (ECF No. 261) is moot. The court will deny the motion.
               20              Accordingly,
               21              IT IS SO ORDERED.
               22              DATED April 5, 2018.
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               24                                                     UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
